                                Fourth Court of Appeals
                                        San Antonio, Texas
                                   MEMORANDUM OPINION
                                           No. 04-24-00309-CV

                                IN THE INTEREST OF M.D.C., a Child

                      From the 225th Judicial District Court, Bexar County, Texas
                                   Trial Court No. 2024EM500751
                             Honorable Eric J. Rodriguez, Judge Presiding

PER CURIAM

Sitting:          Rebeca C. Martinez, Chief Justice
                  Luz Elena D. Chapa, Justice
                  Irene Rios, Justice

Delivered and Filed: August 14, 2024

DISMISSED

           By order dated July 3, 2024, appellant was instructed to show cause in writing by July 13,

2024, that either: (1) the $205.00 filing fee for this appeal had been paid; or (2) appellant was

entitled to appeal without paying the filing fee. Our record contains no evidence that appellant is

excused by statute or rule from paying the filing fee. See TEX. R. APP. P. 5, 20. Appellant was

advised that if appellant failed to respond within the time provided, this appeal would be dismissed

for failure to pay the filing fee. See id. R. 5, 42.3(c). Appellant did not respond or pay the filing

fee.

           Additionally, on July 2, 2024, the trial court clerk notified this court that the clerk’s record

was not filed when it was originally due because appellant had failed to pay or make arrangements

to pay the clerk’s fee for preparing the record and appellant was not entitled to appeal without
                                                                                   04-24-00309-CV


paying the fee. On July 3, 2024, this court ordered appellant to show cause in writing by July 13,

2024, why this appeal should not be dismissed for want of prosecution. Appellant did not respond.

       Accordingly, the appeal is dismissed for failure to pay the filing fee and for want of

prosecution. See id. R. 37.3(b); 42.3(b), (c).

                                                  PER CURIAM




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